Case 5:19-cv-00900-RGK-kk       Document 374 Filed 06/03/21   Page 1 of 2 Page ID
                                      #:10573


 1   Christopher S. Morris, Esq., SBN 163188
     cmorris@morrislawfirmapc.com
 2   Danielle R. Pena, Esq., SBN 286002
     dpena@morrislawfirmapc.com
 3   MORRIS LAW FIRM, APC
     501 West Broadway, Suite 1480                  JS-6
 4   San Diego, CA 92101
     Telephone: (619) 826-8060
 5   Facsimile: (619) 826-8065
 6   James S. Terrell, Esq. SBN 170409
     jim@talktoterrell.com
 7   115411 Anacapa Road
     Victorville, CA 92392
 8   Telephone: (760) 561-2699
     Facsimile: (760) 952-1085
 9
     Sharon J. Brunner, Esq. SBN 229931
10   Sharon.j.brunner@gmail.com
     Law Office of Sharon J. Brunner
11   14393 Park Avenue, Suite 101
     Victorville, CA 92392
12   Telephone: (760) 243-9997
     Facsimile: (760) 843-8155
13
     Attorneys for Plaintiffs
14
                            UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16

17
     PERRY BELDEN, an Individual, and          Case No. 5:19-CV-00900-RGK-KK
18   ROBIN OLDS, an Individual,
                                               ORDER ON DISMISSAL
19                               Plaintiffs,
20         v.
21   THE COUNTY OF SAN
     BERNARDINO; DEPUTY
22   HERRERA; and DOE DEPUTIES
     AND NURSES 1-20, inclusive,
23
                                 Defendants.
24

25

26

27

28
                                               1
      ORDER ON STIPULATION FOR DISMISSAL                      5:19-CV-00900-RGK-KK
Case 5:19-cv-00900-RGK-kk        Document 374 Filed 06/03/21        Page 2 of 2 Page ID
                                       #:10574


 1                                             ORDER
 2         Good cause appearing, this action is dismissed with prejudice. This Court
 3   will retain jurisdiction to enforce the terms of the settlement agreement.
 4             All parties are to bear their own costs and attorney’s fees arising out of this
 5   matter.
 6

 7   Dated: June 3, 2021                 ____________________________
 8                                              Hon. R. Gary Klausner
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   2
      ORDER ON STIPULATION FOR DISMISSAL                            5:19-CV-00900-RGK-KK
